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                 IN THE UNITED STATES DISTRICT COURT                   FILED
                     FOR THE DISTRICT OF MONTANA
                                                                        MAY 16 2017
                           BILLINGS DIVISION
                                                                     ~. l./S. Distr;
                                                                      "''Strict Of M ct Court
                                                                             Billingsontana

 UNITED STATES OF AMERICA,
                                                   CR 16-103-BLG-SPW
                      Plaintiff,

 vs.                                                ORDER

 TERRENCE TYRELL EDWARDS
 and FRANCINE JOANN
 GRANADOS,

                      Defendants.

       Defendant Francine Joann Granados, has moved to sever her trial from the

trial of her co-defendant, Terrence Tyrell Edwards. (Doc. 88). The Government

concedes that the trials should be severed. (See Doc. 102 at 2).

       Accordingly, Granados' motion for severance (Doc. 88) is GRANTED and

her trial shall be severed from that of her co-defendant, Terrence Tyrell Edwards.

       DATED this 16th day of May, 2017.




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                                              SUSANP. WATTERS
                                              United States District Judge




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